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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 JuuL Labs,Inc.,

                                Plaintiff,

                       -V-
                                                            Civil Action No. 1:19-cv-715

 The Unincorporated Ass'n Identifeid in                     Hon. Liam O'Grady
 Schedule A,                                                Hon. Ivan D. Davis


                                Defendants.


                                             ORDER


       This matter comes before the Court upon the Report and Recommendation("R&R")

issued by Magistrate Judge Ivan D. Davis on April 24, 2020. Dkt. 166. Pursuant to 28 U.S.C.

§ 636 and Fed. R. Civ. P. 72(b), any objections to the R&R were required to be filed within

fourteen (14)days ofthat date. No objections were timely filed. Having reviewed the record

and R&R,the Court hereby APPROVES and ADOPTS the findings and conclusions set forth

therein.


       Accordingly, Plaintiffs Motion for Default Judgment as to Certain Defendants, Dkt. 154,

is hereby GRANTED.

       The Clerk is DIRECTED to enter defaultjudgment pursuant to Fed. R. Civ. P. 55 in

favor of Plaintiff Juul Labs, Inc. and against the following defendants: ghillyOOl, pant-20,

qiaotianping-zhengmeixinxi, miss zhang, vapingpit, savings4ul68, lulucaty5171, 2015.filta,

a.cressotti69, kytech2016_0, szeminhhangy, sodal-87, yervansetoya, yervansetoya-0,

cress.anton, tyijiafkju, zbest41ess2012, red-cherry2018,jdonymous, myrodoylO, betr-2,

ageless911, quimstores_914, talfangkoyu, ivanbgatlanta, nikobgl973,jafral571, noamartan_0,

golit_34, hama_1763,joose-6877, wanyancai559, wenwen996_4, lostandfoundnyc, nidahamaye-
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